     Case 2:21-cv-05340-MAR Document 18 Filed 11/10/21 Page 1 of 1 Page ID #:36




 1   TRACY L. WILKISON
     Acting United States Attorney
 2   DAVID M. HARRIS
 3   Assistant United States Attorney
     Chief, Civil Division                                            JS-6
 4   CEDINA M. KIM
     Assistant United States Attorney
 5   Senior Trial Attorney, Civil Division
 6   LYNN HARADA [C.S.B.N. 267616]
     Special Assistant United States Attorney
 7         Social Security Administration, Region IX
 8         160 Spear St., Suite 800
           San Francisco, CA 94105
 9
           Telephone: 510-970-4820
10         Facsimile: 415-744-0134
11         e-mail: Lynn.Harada@ssa.gov
     Attorneys for Defendant
12
13                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
14                              WESTERN DIVISION
15   DAVID KOMATZ,                        ) Case No. 2:21-cv-05340-MAR
              Plaintiff,                  ) [PROPOSED] JUDGMENT OF
16
     vs.                                  ) REMAND
17                                        )
18   KILOLO KIJAKAZI, Acting              )
     Commissioner of Social Security,     )
19                                        )
             Defendant.                   )
20
     _______________________________ )
21
          The Court, having approved the parties’ Stipulation to Voluntary Remand
22
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
23
     (“Stipulation to Remand”) lodged concurrent with the lodging of the within Judgment
24
     of Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
25
     above-captioned action is remanded to the Commissioner of Social Security for further
26
     proceedings consistent with the Stipulation    Remand.
                                            tion to Remand.
27
     DATED: 11/10/21
28                                        HON MARGO A.
                                          HON.       A ROCCONI
                                          UNITED STATES MAGISTRATE JUDGE


                                              -1-
